Case 2:03-cr-20169-.]DB Document 526 Filed 04/18/05 Page 1 of 2 Page|D 584

IN THE UNITED sTATES DISTRICT COURT F“';‘ ` ‘ ' ~
FoR THE WESTERN DISTRICT oF TENNESSEE m
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UNITED STATES OF AMERICA, W.D.né}: TN) M¢EMP§!S

Plaintiff,
vs. Case No. 036r20169-B
DARREN COX

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.

lt now appears that the defendant has complied with the requirements of said bond and orders of

this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $2,000.00,

payable to Rosalind Cox at 4087 Birch Glenn, Memphis, TN 38115 in full refund of the cash

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J. NtEL BREEN \~¢
nit States District]udge

appearance bond posted herein.

Approved.
Robert R. Di Trolio, Clerk of Cour

 
    

BY:
Deputy Clerk
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UNITED `sETATsDIsTRICT COUR - WESERNT D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 526 in
case 2:03-CR-20169 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

